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                                           THE CITY OF NEW YORK
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                                                                       Iuly 1,2014


         Bv ECE
         Hon. Vera M, Scanlon
         U.S. District Court
         Eastern District of New York
         225 CadmanPlazaBast
         Brooklyn, New York 1120I


                        Re:   Ramooe. Inc. v. City of New York et al.;
                              l3 cv 01045
          Your Honor:

                       I write in accordance with your request for a summary of the litigation that is
         currently pending in state court relating to the Broadway Triangle project. The case name and
         index number are as follows: Broadway Triangle Community Coalition v. Bloomberg et al..
         New York County Index No. 112799109.

                       The properties involved in the Broadway Triangle Urban Renewal Area were
         rezoned by the Bloomberg administration from industrial to residential. Plaintifß, a coalition of
         individuals and community organizations, alleged discrimination and moved under the federal
         Fair Housing Act both challenging the overall rezoning and also to enjoin defendants from
         proceeding with development of three specific City-owned parcels under the current residential
         zoning.




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               By decision dated December 23, 2011, the Honorable Emily Jane Goodman
 granted the plaintifls motion for a preliminary injunction to the extent of enjoining the
 defendants and their agents from "transferring City owned land and proceeding with the
                                               lett Street and 35 Bartlett Street..." Broadway
                                                35 Misc. 3d 167,168 (N,Y. Co. Dec. n,nl]
 Development is only stayed for the three properties noted above. Prior to the City's taking,
 Plaintiff Ramooe, Inc. owned the property located at 43 Bartlett Street, Brooklyn, New York.

               According to Sheryl Neufeld, the Division Chief of the Law Department's
 Administrative Law Division, the attorney overseeing the state court litigation, the case is still
 pending and counsel for the parties have had discussions about the case as recently as April of
 this year.




                                                                Holly R.               (HG 3    )
                                                                Assistant    orporation Counsel



 cc: Goldberg & Rimberg PLLC,     1   l5 Broadw   ày, 3'd Floor, New York,   NY   10006




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  Other decisions related to the state court case can be found in LEXIS at:
 (1) Broadwa), Triangle Community Coalition v. Bloomberg,2010 N,Y, Misc. LEXIS 3032 (N.Y
 Co, July 2,2010); and (2)                                                  , 2010 N.Y.
 Misc, LEXIS 2321 (NI.Y. Co, May 24,2010).
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